         Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


THE MEYER GROUP, LTD.,              )
and WILLIAM J. MEYER,               )
                                    )
      Plaintiffs,                   )               Case No. 19-cv-1945-ABJ
                                    )
v.                                  )
                                    )
JAMES RAYBORN and BROAD             )
STREET REALTY, LLC,                 )
                                    )
      Defendants.                   )
____________________________________)

                      PLAINTIFFS’ REPLY IN SUPPORT OF
               CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

       Unlike the other, fact-intensive issues and claims before the Court, there are no genuine

disputes of material fact about Defendant Rayborn’s liability for breach of the ICA. Rayborn

admits he signed the ICA in May 2018, which plainly provides that “canvas[s] cards” are the

“property of TMG,” must be “turn[ed] over” to TMG upon Rayborn’s termination, and cannot be

used “to his own advantage.” DSOF ¶ 35; PSOF ¶ 55 (emphasis added). Rayborn also admits

that—in defiance of the ICA—he absconded with hundreds of Canvass Cards containing TMG’s

client information, and that he used those cards to pursue clients at Broad Street. See DSOF ¶¶

42, 44; PSOF ¶ 56 (Rayborn admitting that he “uses the Canvass Cards in his work at Broad

Street”). Finally, Rayborn admits that he and Broad Street together received over $800,000 in

commissions from former TMG clients and prospective clients that Rayborn referred to Broad

Street. See PSOF ¶¶ 54, 65-67. Rather than point to any genuine dispute of material fact, Rayborn

instead tries to avoid summary judgment by raising strained legal arguments and immaterial factual

issues—all of which fail.
         Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 2 of 10




       First, Rayborn distorts the plain language of the ICA by arguing that it only applies to

Canvass Cards acquired after the ICA was signed in May 2018—an interpretation the Court

rejected as “strained” in its Order on Motion to Dismiss. See Sept. 28, 2020 Order at *17, ECF

No. 17. Even if the Court were to now credit this strained interpretation of the ICA, however,

summary judgment is still warranted, because there is no genuine dispute of fact that Rayborn

“acquired” the Canvass Cards after May 2018.

       Second, Rayborn asks the Court to nullify the ICA’s Confidentiality Provision because the

Court previously held the Non-Solicitation Provision to be unenforceable. This argument has no

basis in law or logic. The two provisions are entirely independent, and there is simply no reason

to jettison the Confidentiality Provision.

       Third, Rayborn confuses the elements of breach-of-contract and theft of trade secrets in

arguing that TMG must prove the Canvass Cards were actually confidential and not derived from

public sources, despite the ICA’s plain language defining the Canvass Cards as TMG’s

“Confidential Information.”

       Fourth, Rayborn disputes that he took a copy of TMG’s Access Database. This factual

dispute, however, is immaterial to Rayborn’s liability for breach of contract: Rayborn admits he

took the Canvass Cards, which is a breach of the ICA by itself.

       Fifth, Rayborn tries to hand wave away the undisputed record evidence showing TMG

suffered damages, despite his own admissions that (i) he always uses the Canvass Cards to bring

in new clients and (ii) he received substantial commissions for bringing at least eleven TMG clients

and prospective clients identified on the Canvass Cards to Broad Street. These admissions are

more than sufficient for the Court to grant summary judgment in favor of TMG on Rayborn’s

liability for breach of contract, while reserving the issue of the amount of damages for trial.




                                                -2-
         Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 3 of 10




        None of the above arguments raise a genuine dispute of material fact. See Baylor v.

Mitchell Rubenstein & Assocs., P.C., 174 F. Supp. 3d 146, 152 (D.D.C. 2016), aff’d, 857 F.3d 939

(D.C. Cir. 2017) (“A dispute is ‘genuine’ only if a reasonable fact-finder could find for the non-

moving party; a fact is ‘material’ only if it is capable of affecting the outcome of the litigation.”

(citations omitted)). Indeed, there is no serious dispute about what really happened here: Rayborn

signed an agreement which prohibited him from taking and using the Canvass Cards—yet he did

so anyway. The Court should therefore grant summary judgment in TMG’s favor as to Rayborn’s

liability for breach of the ICA.

        1. The ICA Unambiguously Covers All Canvass Cards Without Exception

        Rayborn first attempts to avoid summary judgment by repeating a facially implausible

interpretation of the ICA: that it only applies to Canvass Cards “acquired” after the parties signed

the agreement in May 2018. As the Court explained in its Order on the Motion to Dismiss, the

clause Rayborn cites “is not a part of the definition of the term ‘Confidential Information,’ and

there is nothing in the definition that limits that category of information based upon when the

information was first gathered by TMG or one of its employees.” Sept. 28, 2020 Order at *17.

The ICA unambiguously applies to all Canvass Cards without exception, and the Court need not

look to extrinsic evidence to interpret this straightforward clause as a matter of law. See Am. First

Inv. Corp. v. Goland, 925 F.2d 1518, 1520 (D.C. Cir. 1991) (“If the contract is unambiguous, the

court can interpret it as a matter of law.”).

        Even if the Court were to look to extrinsic evidence, however, Rayborn offers no effective

rebuttal to the evidence introduced by TMG showing that Rayborn—by his own admission—did

not possess any Canvass Cards at the time he signed the ICA (because he had been terminated),

and that he signed the ICA only for the express purpose of reacquiring the Canvass Cards. See




                                                -3-
         Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 4 of 10




Pls.’ Cross-Mot. Summ. J 19-20, ECF No. 60. For example, on February 11, 2019, Rayborn

emailed Michael Jacoby—Broad Street’s CEO—explaining that he signed the ICA “because I

needed a job and my cards” and that he believed that if he did not sign it, Meyer would “seal my

office and take all of my work product.” PSOF ¶ 71 (emphasis added). Rayborn thus decided “it

was better” to sign the ICA and then “fight the issues in court.” PSOF ¶ 33. Rayborn also testified

at his deposition that he found the Confidentiality Provision “objectionable,” and explained that

he was advised by his counsel not to sign ICA because he believed the Canvass Cards “belonged

to me.” Plaintiffs’ Supplemental Statement of Facts (“PSSOF”) ¶ 1;1 PSOF ¶ 31. If Rayborn

signed the ICA because he “needed [his] cards,” then Rayborn understood from the outset that the

ICA applied to the Canvass Cards that already existed. See PSOF ¶ 72 (Rayborn confirming that

his Feb. 11, 2019 email referred to Canvass Cards that already existed). It also means that TMG—

not Rayborn—necessarily had the Canvass Cards in its possession at the time the ICA was signed,

and Rayborn therefore “acquired” any Canvass Cards after re-joining TMG in May 2018.

       The only “evidence” Rayborn points to in support of his position is his own newly-created

affidavit, which states—for the first time—that he read the ICA to apply only to “future” Canvass

Cards. Defs.’ Ex. 96. Rayborn is not a credible witness: as Defendants concede, Rayborn testified

in a prior sworn deposition in D.C. Superior Court that he did not take any Canvass Cards from

TMG, which is an unequivocally false statement. Compare PSOF ¶ 53 with DSOF ¶ 42.

Moreover, his conclusory affidavit is nothing but a post-hoc invention to avoid liability, and flatly



1
  TMG attaches hereto a Supplemental Statement of Facts solely to refer the Court to Rayborn’s
deposition testimony (a full transcript of which was already provided by Defendants as Exhibit 4)
which contradicts his new Affidavit. TMG notes that Defendants cite to portions of the Affidavit
not mentioned in the parties’ statement of facts, see Defs.’ Opp. and Reply 6, n.5, 10, in violation
of the Court’s Scheduling Order. If Defendants had cited those portions of the Affidavit in a
statement of facts, in accordance with the Scheduling Order, TMG would have responded to that
statement of facts rather than filing a supplemental statement of facts.

                                                -4-
         Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 5 of 10




contradicted by significant contemporaneous evidence that, at the time the ICA was signed,

Rayborn understood perfectly well that it applied to all Canvass Cards. See Pls.’ Cross-Mot.

Summ. J. 19-20. Rayborn’s assertion he read the ICA to cover “future” Canvass Cards he created

also blatantly contradicts the argument in Defendants’ opening brief that “the ICA does not cover

Rayborn’s work product.” Defs.’ Mot. Summ. J. 11, ECF No. 56-2. Rayborn’s “self-serving and

uncorroborated” affidavit cannot defeat summary judgment. Gen. Elec. Co. v. Jackson, 595 F.

Supp. 2d 8, 36 (D.D.C. 2009), aff’d, 610 F.3d 110 (D.C. Cir. 2010); see Moran v. United States

Capitol Police, 82 F. Supp. 3d 117, 131 (D.D.C. 2015) (“self-serving testimony is particularly

suspect” and cannot defeat summary judgment when it was “contradicted by the notes taken at the

time” and “flatly contradicted by a sworn” statement “on another occasion”).

       Lastly—even if the Court were to credit Rayborn’s far-fetched interpretation of the ICA—

the Court should still grant summary judgment in TMG’s favor because there is no genuine dispute

of material fact that Rayborn misappropriated Canvass Cards which were created after May 2018.

It is undisputed that after Rayborn signed the ICA in May 2018, he had eight months to create new

Canvass Cards before being terminated again in January 2019. See DSOF ¶¶ 30, 41. At his

deposition, Rayborn testified he prioritized taking 255 “working cards” for “meetings that had not

been set up” when he left TMG. PSSOF ¶ 2; see also DSOF ¶ 42. He explained that the Canvass

Cards he left behind were for “meetings that we may have had in the past.” PSSOF ¶ 2. Thus,

Rayborn’s “working cards”—for clients he was actively pursuing at the time of his departure from

TMG—were necessarily created after Rayborn rejoined TMG in May 2018. Even in his new self-

serving affidavit, Rayborn never once asserts that the hundreds of Canvass Cards he took were

only—or even primarily—those created before May 2018.




                                              -5-
            Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 6 of 10




       2. The Confidentiality and Non-Solicitation Provisions Are Entirely Independent

       Rayborn also asks the Court to nullify the ICA’s Confidentiality Provision (Section 6a) for

no other reason than that the Court previously found the Non-Solicitation Provision (6b) to be an

unenforceable restraint on trade. But those two provisions are independent, and the fate of one

does not rise or fall with the other. To be sure, the only case Rayborn cites in support of this

spurious argument specifically stated just that: a “lawful promise made for a lawful consideration

is not invalid by reason only of an unlawful promise made at the same time and for the same

consideration.” EDM & Assocs., Inc. v. GEM Cellular, 597 A.2d 384, 390 (D.C. 1991) (quotation

omitted).

       Rayborn contends that because both provisions use the word “client,” and that term is not

defined, the Confidentiality Provision should not be enforced. But “client” may be given its plain

meaning; not every contractual term requires a definition.2 See Debnam v. Crane Co., 976 A.2d

193, 197 (D.C. 2009) (contract language to be given “plain meaning”). “Canvas[s] cards” are also

separately listed in the ICA as TMG’s “Confidential Information,” so the definition of Canvass

Cards in no way depends on the meaning of the word “client.” There is simply no reason for the

Court to decline to enforce the Confidentiality Provision on this basis.

       3. TMG Need Not Prove the Elements of Trade Secrets to Prove Breach of Contract

       Next, Rayborn attempts to impute the elements of a trade secrets claim to TMG’s breach

of contract claim. Rayborn is mistaken: because the ICA’s plain language defines the Canvass



2
 Defendants incorrectly suggest that the phrases “prospective clients” (used in the Confidentiality
Provision) and “potential clients” (used in the Non-Solicitation Provision) are “interchangeable.”
Defs.’ Opp. and Reply 3. In fact, “prospective” has a much narrower meaning than “potential.”
Compare Prospective (2b: “likely to be or become”), Merriam-Webster’s Dictionary,
https://www.merriam-webster.com/dictionary/prospective with Potential (1a: “existing in
possibility”),         Merriam-Webster’s              Dictionary,           https://www.merriam-
webster.com/dictionary/potential, last visited February 23, 2022.

                                               -6-
         Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 7 of 10




Cards as TMG’s “Confidential Information,” the Court need look no further than the face of the

ICA to ascertain what types of documents are considered TMG’s “Confidential Information.” See

DSOF ¶ 35.

       Further, the ICA prohibits Rayborn from taking and using “other confidential or

proprietary information belonging to TMG”—in addition to the Canvass Cards. DSOF ¶ 35

(emphasis added). If the Canvass Cards were required to be kept “confidential” to be protected

from disclosure under the ICA, such an interpretation would render the use of the phrase “Canvass

Cards” wholly redundant, defying the obvious intent of the parties. See Proriver, Inc. v. Red River

Grill, LLC, 83 F. Supp. 2d 42, 49 (D.D.C. 1999) (“principal objective” in interpreting contract is

to “give effect to the intent of the parties to the agreement.”). This unsubstantiated “argument of

counsel” has no support in the record, and “does not substitute for evidence that establishes a

genuine issue of material fact.” Internet Fin. Servs., LLC v. L. Firm of Larson-Jackson, P.C., 310

F. Supp. 2d 1, 4 (D.D.C. 2004) (cleaned up).

       4. The Access Database is Immaterial to Liability for Breach of Contract

       Rayborn raises but one genuine factual dispute: whether he took a copy of the Access

Database. While there is certainly more than enough evidence for that issue to go before a jury,

see Pls.’ Cross-Mot. Summ. J. 22-23, it is unnecessary to resolve that question in order to

determine Rayborn’s liability for breach of contract, because—simply put—Rayborn admits that

he took the Canvass Cards. See DSOF ¶ 42. Rayborn’s theft of the Canvass Cards is sufficient to

establish a breach of the ICA on its own.

       5. There is No Genuine Dispute That TMG Suffered Damages

       Lastly, Rayborn insists that TMG has “not demonstrated any harm resulting from the

alleged breach of contract.” Defs.’ Opp. and Reply 8, ECF No. 66. That is demonstrably false:




                                               -7-
         Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 8 of 10




there is no genuine dispute of fact that (i) Rayborn always uses Canvass Cards to win new business,

and (ii) Rayborn and Broad Street together received over $800,000 in commissions from former

TMG clients and prospective clients that Rayborn referred to Broad Street. See PSOF ¶ 55

(admitting he “uses the Canvass Cards in his work at Broad Street”), ¶ 60 (admitting he needs the

Canvass Cards to “keep the lights on”), ¶¶ 65-67 (admitting to over $800,000 in commissions from

former TMG clients Rayborn referred to Broad Street). Thus, TMG has amply shown that

Rayborn’s breach caused, at a minimum, some clients to leave TMG for Broad Street—which is

sufficient to establish Rayborn’s liability for breach of the ICA, with a determination of the amount

of damages reserved for trial.

       No reasonable jury could conclude from the uncontested record evidence that TMG

suffered no damages at all from Rayborn’s breach. At least eleven TMG clients and prospective

clients for which Rayborn took corresponding Canvass Cards were subsequently represented by

Broad Street in the years following Rayborn’s departure. See PSOF ¶¶ 64, 65. Defendants do not

dispute that Rayborn and Broad Street received hundreds of thousands of dollars in commissions

from representing these clients, and that Broad Street had never represented any of them before

Rayborn referred them to Broad Street. See PSOF ¶¶ 66, 67. It is also undisputed that Rayborn

uses Canvass Cards to pursue clients: as detailed extensively in TMG’s Rayborn’s opening brief,

Rayborn has declared on many occasions that he can’t “make money” without the Canvass Cards,

and his coworkers at Broad Street all confirmed Rayborn’s continued use of the Canvass Cards

there. See Pls.’ Cross-Mot. Summ. J. 13; see also PSOF ¶¶ 56, 58-63. Moreover, the “large

majority” of TMG’s clients are repeat clients, PSOF ¶ 117,3 so there can be no serious doubt that



3
 Defendants “denied” this well-supported statement of fact (and others) without any evidence or
explanation whatsoever, so it should be considered admitted. See Baylor v. Mitchell Rubenstein
& Assocs., P.C., 174 F. Supp. 3d 146, 152 (D.D.C. 2016), aff’d, 857 F.3d 939 (D.C. Cir. 2017)

                                                -8-
             Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 9 of 10




at the very least, some of those eleven clients would have retained TMG but for Rayborn’s breach.

The only reasonable inference that can be drawn from this cumulative evidence is that Rayborn’s

breach caused at least some clients to use Broad Street instead of TMG.

            To create a genuine dispute of fact in order to defeat summary judgment, Rayborn must do

more than simply “show that there is some metaphysical doubt” as to whether TMG suffered

damages. Plummer v. D.C., 596 F. Supp. 2d 70, 73 (D.D.C. 2009) (quoting Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). Rather, he “must present specific

facts that would enable a reasonable juror to find in [his] favor” on damages. Plummer, 596 F.

Supp. 2d at 73 (emphasis added) (citing Greene v. Dalton, 164 F.3d 671, 675 (D.C. Cir. 1999)).

Rayborn has not done so. But in his Opposition, Rayborn fails to cite to a single, specific fact

which could defeat TMG’s motion for summary judgment as to liability. See Trudel v. SunTrust

Bank, 288 F. Supp. 3d 239, 246 (D.D.C. 2018) (“To defeat summary judgment . . . an opposition

must consist of more than mere unsupported allegations or denials and must be supported by

affidavits, declarations, or other competent evidence, setting forth specific facts showing that there

is a genuine issue for trial.”).

            In sum, TMG’s damages “exist and are not entirely speculative”—which is all that is

needed to grant summary judgment in TMG’s favor as to liability on its breach-of-contract claim.

Parr v. Ebrahimian, 70 F. Supp. 3d 123, 133 (D.D.C. 2014). The only “genuine dispute” here is

the specific quantum of damages that TMG has suffered, which can be determined by the factfinder

at trial.




(“To defeat summary judgment, the non-moving party must designate specific facts showing that
there is a genuine issue for trial.” (citation and quotation omitted)).

                                                  -9-
        Case 1:19-cv-01945-ABJ Document 68 Filed 03/04/22 Page 10 of 10




                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant TMG’s Cross

Motion for Partial Summary Judgment as to liability on its breach of contract claim (Count I).



Dated: March 4, 2022                         Respectfully submitted,

                                             AEGIS LAW GROUP LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2022, the foregoing document was filed electronically

with the Clerk of Court, to be served by operation of the Court’s electronic notification system

upon all counsel of record.

                                             By:       /s/ Serine R. Consolino




                                              - 10 -
